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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                       Plaintiff,

     v.                                               Case No. 1:17-cv-02511-RJL

 AT&T INC., DIRECTV GROUP
 HOLDINGS, LLC, and
 TIME WARNER INC.,

                       Defendants.



                                       NOTICE OF APPEAL

          Notice is hereby given that the United States of America, plaintiff in the above named

case, hereby appeals to the United States Court of Appeals for the District of Columbia Circuit

from the final judgment entered in this action on June 12, 2018.



Dated: July 12, 2018                                   Respectfully submitted,

                                                       /s/ Craig Conrath

                                                       Craig Conrath
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                                                       Attorney for United States of America
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 12, 2018, I caused a true and correct copy of the foregoing

document to be served upon the parties of record via the Court’s CM/ECF system.


Dated: July 12, 2018                                 /s/ Craig Conrath

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